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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                CASE NUMBER:
 United States of America,
                                                                                LACR 17-206(A)-JAK
                                                  Plaintiffs)

Trevon Maurice Franklin                                                 STATEMENT OF DEFENDANT'S
                                                                         CONSTITUTIONAL RIGHTS
                                                Defendants)


     You are here for arraignment and plea upon an indictment or information filed against you, a copy of which
     will be given to you.

     You are entitled to a speedy and public trial by jury. If you wish to waive ajury trial, you must be tried by the
     Court sitting without a jury.

     You are entitled to be represented by an attorney at all stages of the proceedings against you. If you do not
     have the funds or the means to hire a lawyer,tell the Magistrate Judge and he/she will appoint an attorney from
     the Indigent Defense Panel or the office of the Federal Public Defender to represent you without cost to you.

     You are entitled to see and hear the evidence and cross-examine the witnesses against you. You are entitled to
     the processes ofthe Court to subpoena witnesses on your behalf without cost to you if you are indigent. It is
     not necessary to prove your innocence. It is the burden of the government to prove, by competent evidence,
     your guilt beyond a reasonable doubt.

    If you desire to plead guilty, you will be further questioned by a Court to ascertain whether or not your plea is
    voluntary. In the event your plea is accepted,the Court will sentence you after referral to the Probation Officer
    for a presentence report. This procedure usually takes about ten(10)weeks. Before accepting a plea ofguilty,
    the Judge expects that you have discussed your case fully with your lawyer and have been fully advised of all
    the defenses you may have. You will be expected to know the maximum and minimum sentence you can
    receive on your plea of guilty.

    Do not plead guilty unless you are, in fact, guilty ofthe charges made against you in the indictment or information.
    Do not plead guilty ifthere have been any threats made against you or any member of your family by anyone.
    Do not plead guilty if there have been any promises of leniency or a particular sentence made to you by
    anyone,including your own lawyer. No one has the authority to make any promises to you concerning sentence.

    Your case will be referred to one ofthe Judges ofthis Court for all other proceedings. The name ofthe Judge
    will be drawn after your arraignment and all further proceedings will be before that Judge.


                                                                                                 (continued on Page 2)

                                STATEMENT OF DEFENDANT'S CONSTITUTIONAL RIGHTS

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 ACKNOWLEDGMENT OF DEFENDANT:

      I have read the above Statement of Rights and understand them. I do not require a translation ofthis statement
      nor do I require an interpreter for court proceedings.


      Dated: ~ ~ 1`~%
                                                                               Signature ofDefendant
                                                         [orJ

      1 have personally heard a translation in the                                           language read to me and
      understand the above Statement of Rights.

     Dated:
                                                                               Signature ofDefendant



 STATEMENT OF THE INTERPRETER:


     I have translated the Statement of Rights to the Defendant in the                                     language.


     Dated:
                                                                               Signature of'Interpreter




                                                                              Print Name ofInterpreter




STATEMENT OF COUNSEL:

     I am satisfied that the defendant has read this Statement of Rights or has heard the interpretation thereof and
     that he/she understands them.


    Dated: ~~ ~'~~
                                                                               Signature ofAttorney




                                STATEMENT OF DEFENDANT'S CONSTITUTIONAL RIGHTS

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